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 8                                UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF NEVADA
10
      SALVADOR MORA, individually,                         Case No.:
11
                            Plaintiff,                     COMPLAINT
12
      vs.
13
      MISSION SUPPORT AND TEST SERVICES
14    LLC, a foreign limited-liability company; DOES
      I-X; and ROE BUSINESS ENTITIES I-X,
15    inclusive,
16                          Defendants.
17

18                                COMPLAINT WITH JURY DEMAND
19          Plaintiff SALVADOR MORA (“Plaintiff”), by and through his attorneys of record, the law
20   firm MAIER GUTIERREZ & ASSOCIATES, hereby demands a trial by jury and complains and alleges
21   against the above named defendant, MISSION SUPPORT AND TEST SERVICES LLC (“MSTS”);
22   DOES I-X; and ROE BUSINESS ENTITIES I-X, inclusive, as follows:
23                JURISDICTION, VENUE AND LEGAL BASIS FOR THIS ACTION
24          1.      This Court possesses jurisdiction to entertain this matter pursuant to 28 U.S.C. § 1331
25   because Plaintiff’s claims arise under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
26   seq.
27          2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because “a
28   substantial part of the events or omissions giving rise to the claim[s] occurred” in this district, as


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 1   defendant maintains a facility and business operations in this district, employed Plaintiff in this

 2   district, and committed the discriminatory acts alleged herein in this district. Specifically, the pay

 3   stubs that defendant MSTS issued to Plaintiff include an address of PO Box 98521 Las Vegas, NV

 4   89123-8521. Defendant also has a job site at 2621 Losee Rd., North Las Vegas, NV 89030.

 5           3.      This Court has supplemental jurisdiction over Plaintiff’s state law claims under 28

 6   U.S.C. § 1367(a).

 7           4.      This civil action is brought by Plaintiff pursuant to federal common and statutory law.

 8                         EXHAUSTION OF ADMINISTRATIVE REMEDIES
 9           5.      On or about April 5, 2021, Plaintiff submitted his Charge of Discrimination to the

10   Nevada Equal Rights Commission (“NERC”), which became dual-filed with the Equal Employment

11   Opportunity Commission (“EEOC”).           This submission indicated that Plaintiff suffered from

12   discrimination based on his national origin while he was an employee at Mission Support and Test

13   Services LLC. This NERC filing fulfilled Plaintiff’s obligation to initiate an administrative claim

14   before filing suit.

15           6.      On or about April 14, 2021, less than two weeks after Plaintiff filed his Charge of

16   Discrimination, instead of investigating the matter, the EEOC mailed Plaintiff a “Notice of Suit

17   Rights” letter (See Exhibit 1) stating that he would have within 90 days of the letter’s receipt to file
18   suit.

19           7.      Plaintiff received the EEOC’s “Notice of Suit Rights” letter on or around April 17,

20   2021.

21           8.      Accordingly, by bringing a Charge of Discrimination to NERC and EEOC and waiting

22   until EEOC closed its file on the Charge and issued him a “Notice of Suit Rights” letter, Plaintiff has

23   met all administrative prerequisites to bring this lawsuit.

24                                                  PARTIES
25           9.      Plaintiff SALVADOR MORA, is, and at all times pertinent hereto was, a resident of

26   Clark County, Nevada.
27           10.     Upon information and belief, defendant MISSION SUPPORT AND TEST SERVICES

28   LLC (“MSTS”) is, and at all times pertinent hereto was, a foreign limited-liability company


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 1   conducting business in the State of Nevada, being located at 2621 Losee Rd, North Las Vegas, Nevada

 2   89030.

 3            11.   Plaintiff is not familiar with the complex corporate interrelationships through which

 4   MSTS operates. The true names and capacities, whether individual, corporate, associate, partnership

 5   or otherwise, of the defendants herein designated as DOES I through X and ROE CORPORATIONS

 6   I through X, inclusive, are unknown to Plaintiff, who therefore sues said defendants by such fictitious

 7   names. Plaintiff will seek leave of the Court to insert the true names and capacities of such defendants

 8   when the same have been ascertained and will further seek leave to join said defendants in these

 9   proceedings.

10                                       GENERAL ALLEGATIONS
11            12.   Plaintiff belongs to a protected class under Title VII, as he identifies as a Hispanic-

12   American male, originally of Hispanic national origin.

13            13.   Defendant MSTS has recognized and specifically noted Plaintiff as being Hispanic, as

14   a member of MSTS management wrote in “Hispanic” in the “Notes” box under the “For Company

15   use Only” section of Plaintiff’s employment application with MSTS.

16            14.   On or about March 15, 2019, MSTS hired Plaintiff.

17            15.   Plaintiff worked as a carpenter for MSTS.

18            16.   In addition to being fully qualified for his position at MSTS, Plaintiff was a dedicated

19   and loyal employee for MSTS, and was not subject to any verbal or written forms of discipline at

20   work, which substantiates that he satisfactorily performed his job duties.

21            17.   On or around August 6, 2020, Plaintiff suffered an adverse employment action when

22   his employment, along with the employment of three other Hispanic male carpenters (Benito

23   Gutierrez, Jesus Villela, and Jose Munoz), was terminated.

24            18.   The only carpenters terminated by MSTS on August 6, 2020 were the four carpenters

25   (including Plaintiff) of Hispanic national origin.

26            19.   Plaintiff’s termination was particularly shocking, as he had been working at the same
27   MSTS work site for approximately a year by August 2020, and his site supervisor had repeatedly

28   requested that Plaintiff be transferred to that site on a more permanent basis. However, MSTS


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 1   management refused to do so.

 2          20.     MSTS has claimed that Plaintiff was terminated due to a reduction in force.

 3          21.     However, Plaintiff was discharged under circumstances giving rise to an inference of

 4   discrimination, as MSTS treated Plaintiff differently than similarly situated employees who were not

 5   of Hispanic national origin.

 6          22.     Specifically, MSTS treated non-Hispanics, including Caucasian and African-

 7   American carpenters not of Hispanic origin, more favorably than Plaintiff.

 8          23.     MSTS treated non-Hispanic carpenter David Mitchell, who has been caught numerous

 9   times literally sleeping on the job, and who has a history of crashing a company vehicle causing

10   destruction of company property, more favorably than Plaintiff and the other three carpenters of

11   Hispanic national origin who were terminated in August 2020.

12          24.     Upon information and belief, David Mitchell was not terminated by MSTS in August

13   2020, and still works at MSTS to this day.

14          25.     On or around August 10, 2020, a mere four days after MSTS terminated Plaintiff,

15   David Mitchell texted Plaintiff, boasting about how he was being transferred to the site that Plaintiff

16   had worked at for a more permanent position.

17          26.     MSTS also treated non-Hispanic carpenter Joshua Presser, who did not perform his job

18   as satisfactorily as Plaintiff did, more favorably than Plaintiff and the other three carpenters of

19   Hispanic national origin who were terminated in August 2020.

20          27.     Upon information and belief, Joshua Presser was not terminated by MSTS in August

21   2020, and still works at MSTS to this day.

22          28.     MSTS treated other non-Hispanic carpenters more favorably than Plaintiff in opting to

23   terminate only carpenters with Hispanic national origin on August 6, 2020.

24          29.     Other workers, including foremen and supervisors at MSTS, have acknowledged the

25   discriminatory nature of the terminations that took place on August 6, 2020. For example, MSTS

26   foreman Brad Pavalack admitted in a text message to Plaintiff that “[E]veryone thought the layoff was
27   bullshit” and that illegal favoritism was involved.

28   ///


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 1           30.    MSTS’s wrongful, discriminatorily-based termination of Plaintiff’s employment

 2   severely impacted Plaintiff’s emotional state, as he suffered, and continues to suffer, from anxiety,

 3   insomnia, and panic attacks because of MSTS’s discrimination, and now fears being terminated from

 4   jobs in the future based not on his skillset but on his national origin.

 5           31.    Plaintiff was damaged as a result of MSTS’s discriminatory actions, as he was left

 6   without a job and had to scramble – in the middle of a pandemic – to try to obtain new employment

 7   to provide for his family.

 8                                       FIRST CLAIM FOR RELIEF
 9   Violation of Title VII of the Civil Rights Act – 42 U.S.C. § 2000e et seq. as amended– Disparate
10                      Treatment (National Origin Discrimination) Against MSTS
11           32.    Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

12   complaint as though fully set forth herein and incorporates the same herein by reference.

13           33.    Plaintiff is a member of a protected class as a Hispanic man.

14           34.    During his employment with MSTS, Plaintiff performed his job duties according to

15   MSTS’s legitimate expectations, as shown by the positive feedback he received and the lack of any

16   discipline.

17           35.    During Plaintiff’s employment at MSTS, MSTS subjected Plaintiff to adverse, national

18   origin-based, disparate treatment, which resulted in the termination of Plaintiff’s employment at

19   MSTS.

20           36.    On or around August 6, 2020, Plaintiff suffered an adverse employment action, when

21   his employment, along with the employment of three other Hispanic male carpenters (Benito

22   Gutierrez, Jesus Villela, and Jose Munoz), was terminated.

23           37.    The only carpenters terminated by MSTS on August 6, 2020 were the four carpenters

24   (including Plaintiff) of Hispanic national origin.

25           38.    The non-Hispanic carpenters with qualifications similar to Plaintiff’s were all treated

26   more favorably, as they were allowed to continue working at MSTS, and one non-Hispanic worker
27   (David Mitchell) actually took over the same position that Plaintiff was in on a more permanent basis,

28   despite Plaintiff being qualified for that position. Plaintiff discovered this through a text message that


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 1   David Mitchell sent boasting about his new position.

 2          39.     Pursuant to 1991 Amendments to Title VII, Plaintiff is entitled to recover punitive

 3   damages for MSTS’s malicious and intentional violations of federal and state anti-discrimination

 4   laws. Plaintiff is entitled to recover punitive damages in an amount sufficient to punish MSTS for its

 5   illegal conduct and to deter other employers from engaging in such conduct in an amount to be

 6   determined by the jury deemed sufficient to do so.

 7          40.     As a result of MSTS’s actions, Plaintiff has suffered lost wages, mental anguish,

 8   inconvenience, and loss of enjoyment of life.

 9          41.     Under applicable federal law, Plaintiff is entitled to recover all of her attorneys’ fees

10   and costs.

11                                     SECOND CLAIM FOR RELIEF
12         Violation of NRS 613.330 – Unlawful Deprivation of Employment (National Origin
13                                      Discrimination) Against MSTS
14          42.     Plaintiff repeats and re-alleges the allegations of the preceding paragraphs of the

15   complaint as though fully set forth herein and incorporates the same herein by reference.

16          43.     MSTS discriminated against Plaintiff by subjecting him to adverse treatment based on

17   his national origin, including terminating Plaintiff’s employment (and the employment of three other

18   Hispanic male carpenters), while keeping the non-Hispanic carpenters employed, and attempting to

19   justify it as merely a “reduction in force,” which conveniently only affected the Hispanic carpenters.

20   Such actions resulted in humiliation and Plaintiff’s unlawful termination.

21          44.     Other similarly situated MSTS carpenters not of Hispanic national origin, some of

22   whom were not even as qualified as Plaintiff, were not exposed to the same discriminatory conduct.

23          45.     As a result of Defendant’s actions, Plaintiff has suffered lost wages, mental anguish,

24   inconvenience, and loss of enjoyment of life.

25          46.     As a result of Defendant’s actions, it has been necessary for Plaintiff to retain the

26   services of attorneys and he is entitled to reasonable costs and attorneys’ fees.
27                                      DEMAND FOR JURY TRIAL
28          47.     Pursuant to the Seventh Amendment of the United States Constitution, Plaintiff


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 1   invokes his right to trial by jury in this civil action.

 2                                            PRAYER FOR RELIEF
 3           WHEREFORE, Plaintiff prays for judgment against Defendants, and each of them, as follows:

 4           1.      For a judgment in favor of Plaintiff against Defendants, and each of them, on the

 5   complaint and all claims for relief asserted therein;

 6           2.      For an award of economic damages in an amount sufficient to make Plaintiff whole for

 7   past and future lost income and benefits and other economic losses suffered by Plaintiff resulting from

 8   Defendants’ conduct;

 9           3.      For an award of compensatory damages from mental anguish, emotional distress, pain

10   and suffering, humiliation, harm to reputation and other losses incurred by Plaintiff as a result of

11   Defendants’ conduct;

12           4.      For an award of prejudgment and post-judgment interest;

13           5.      For an award of punitive damages;

14           6.      For an award of Plaintiff’s costs of suit incurred herein;

15           7.      For an award of attorney’s fees and related expenses pursuant to § 706(k) of Title VII,

16   42 U.S.C. § 2000e-5(k) and other corresponding federal law; and

17           8.      For an award of such other relief the Court may deem just and proper.

18           DATED this 7th day of July 2021.

19                                                          Respectfully submitted,

20                                                          MAIER GUTIERREZ & ASSOCIATES
21
                                                            _/s/ Danielle J. Barraza___________________
22                                                          DANIELLE J. BARRAZA, ESQ.
                                                            Nevada Bar No. 13822
23                                                          8816 Spanish Ridge Avenue
                                                            Las Vegas, Nevada 89148
24                                                          Attorneys for Plaintiff Salvador Mora
25                                                  Exhibit List
26    Exhibit No.                                 Description                              Page Count
          1                               “Notice of Suit Rights” letter                       3
27

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